             Case 1:23-mj-00041-MAU Document 7 Filed 03/08/23 Page 1 of 1



        IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        *
                                                *
       VS.                                      *     CASE NO. 23-MJ-00041-MAU-1
                                                *
CHRISTOPHER MAURER MAINE                        *
                                            *********

                             MOTION TO ENTER APPEARANCE

       TO THE CLERK OF THE COURT AND ALL PARTIES OF RECORD:

       Alfred Guillaume, Esq. hereby moves this Honorable Court to enter his appearance on behalf of

the Defendant in the above captioned case pursuant to the Criminal Justice Act.



                                                                 Respectfully submitted,



                                                          Alfred Guillaume III, Esq. #MD0085
                                                          Law Offices of Alfred Guillaume III, LLC
                                                          1350 Connecticut Ave. NW, Suite 308
                                                          Washington, D.C. 20036

                                   CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 8th day of March 2023, a copy of this motion was sent electronically
via CM/ECF to all parties of record.


                                            Alfred Guillaume III, Esq.
